 Case 2:16-cv-00464-GZS Document 13 Filed 02/28/17 Page 1 of 3                      PageID #: 25




                             UNITED STATES DISTRICT COURT
                                     District of Maine



                                                    )
 ANTHONY LOGAN,                                     )   Docket No. 2:16-CV-00464-GZS
                         Plaintiff                  )
                                                    )
 v.                                                 )
                                                    )
 YORK COUNTY SHERIFF’S OFFICE AND                   )
 EMPLOYEES,                                         )
               Defendants                           )
                                                    )


ANSWER AND AFFIRMATIVE DEFENSES OF YORK COUNTY SHERIFF’S OFFICE


       NOW COMES Defendant York County Sheriff, by and through undersigned counsel, and

hereby responds to the allegations contained in Plaintiff’s Complaint as follows:

                                     AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B. Plaintiff has not suffered any compensable damages resulting from the claims alleged in

Plaintiff’s Complaint.

       C. Plaintiff has failed to mitigate his damages as required by law.

       D. This Defendant is entitled to general immunity under the Maine Tort Claims Act.

       E. This Defendant is entitled to discretionary function immunity under the Maine Tort

Claims Act.

       F. Plaintiff’s claims are barred by provisions of the Prison Litigation Reform Act, including

but not limited to 42 U.S.C. § 1997e(a) and/or 42 U.S.C. § 1997e(e).

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 Case 2:16-cv-00464-GZS Document 13 Filed 02/28/17 Page 2 of 3                         PageID #: 26




       G. With regard to any alleged tort claims, Plaintiff has failed to comply with conditions

precedent to the maintenance of this action including, without limitation, compliance with the notice

requirements of the Maine Tort Claims Act.

                                              ANSWER

       Section IV. Statement of Claim. Defendant York County Sheriff’s Office denies each and

every averment set forth in this section of Plaintiff’s Complaint.

       Section V. Relief. Defendant York County Sheriff’s Office denies each and every averment

set forth in this section of Plaintiff’s Complaint.

       WHEREFORE, Defendant York County Sheriff’s Office requests that all relief requested by

Plaintiff be denied and that Defendant York County Sheriff’s Office be awarded its costs and

attorneys fees incurred in defending this action.


Dated: February 28, 2017                                   /s/ Peter T. Marchesi
                                                          Peter T. Marchesi, Esq.


                                                           /s/ Cassandra S. Shaffer
                                                          Cassandra S. Shaffer, Esq.

                                                          Wheeler & Arey, P.A.
                                                          Attorneys for Defendant York County
                                                                 Sheriff’s Office
                                                          27 Temple Street, P.O. Box 376
                                                          Waterville, ME 04903-0376




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Case 2:16-cv-00464-GZS Document 13 Filed 02/28/17 Page 3 of 3                      PageID #: 27




                           UNITED STATES DISTRICT COURT
                                   District of Maine

                                                    )
 ANTHONY LOGAN,                                     )    Docket No. 2:16-CV-00464-GZS
                       Plaintiff                    )
                                                    )
 v.                                                 )
                                                    )
 YORK COUNTY SHERIFF’S OFFICE,                      )
               Defendants                           )
                                                    )



                                   CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, Esq., attorney for Defendant York County Sheriff, hereby certify that:

       !      Answer and Affirmative Defenses of York County Sheriff

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              None

       Copies of the above documents have been provided to the Plaintiff via United States Mail,
postage prepaid, at the following address:

              Anthony Logan
              300 Cumberland Street
              Westbrook, ME 04092


Dated: February 28, 2017                                 /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Attorney for Defendant York County Sheriff
                                                        Wheeler & Arey, P.A.
                                                        27 Temple Street, P.O. Box 376
                                                        Waterville, ME 04903-0376



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